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8
                     IN THE UNITED STATES DISTRICT COURT
9
                   FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10

11
     DIGITAL VERIFICATION
12   SYSTEMS, LLC
                                                        Case No. 3:23-cv-01529-H-AHG
13            Plaintiff,
14                 v.
15
     GOFORMZ, INC.,
16          Defendants.
17

18                 STIPULATION OF DISMISSAL WITH PREJUDICE
19
           Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,
20

21
     Plaintiff Digital Verification Systems, LLC, and Defendant GoFormz, Inc.,

22   respectfully submits this stipulation of dismissal with prejudice of all claims asserted.
23
     Each side is to bear its own costs and fees.
24

25   Dated: October 31, 2023                 Respectfully submitted,
26
                                             /s/ Randall Garteiser
27                                           Randall Garteiser
28
                                             CA State Bar No. 231821
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16

17                                        ATTORNEYS FOR DEFENDANT
18

19

20
                              CERTIFICATE OF SERVICE
21
           The undersigned hereby certifies that a true and correct copy of the above
22

23   document has been served to all counsel of record who are deemed to have consented
24
     to electronic service via the Court’s CM/ECF system on.
25
                                                      /s/ Randall Garteiser
26                                                    Randall Garteiser
27

28
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1                        IN THE UNITED STATES DISTRICT COURT
2                  FOR THE SOUTHERN DISTRICT OF CALIFORNIA
3

4
     DIGITAL VERIFICATION
5
     SYSTEMS, LLC
                                                        Case No. 3:23-cv-01529-H-AHG
6             Plaintiff,
7
                    v.
8
     GOFORMZ, INC.,
9
            Defendants.
10
                                             ORDER
11

12            The Court, having considered the Stipulation of Dismissal with Prejudice,
13
     ORDERS that, pursuant to Rule 41(a)(1)(A)(ii), all claims asserted in this case are
14

15   dismissed with prejudice. Each party shall bear its own costs and attorneys’ fees with

16   respect to the matter dismissed hereby;
17
              The Stipulation and Order shall finally resolve the Action between the parties.
18

19   The Clerk of the Court is ordered to close this case.
20                 IT IS SO ORDERED.
21
     Dated:                                     _________________________
22                                              Marilyn L. Huff, District Judge
23                                              UNITED STATES DISTRICT COURT
24

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